Case 4:20-cv-01299-O Document 1 Filed 12/04/20   Page 1 of 7 PageID 1




                                             4:20-cv-1299-O
Case 4:20-cv-01299-O Document 1 Filed 12/04/20   Page 2 of 7 PageID 2
Case 4:20-cv-01299-O Document 1 Filed 12/04/20   Page 3 of 7 PageID 3
Case 4:20-cv-01299-O Document 1 Filed 12/04/20   Page 4 of 7 PageID 4
Case 4:20-cv-01299-O Document 1 Filed 12/04/20   Page 5 of 7 PageID 5
Case 4:20-cv-01299-O Document 1 Filed 12/04/20   Page 6 of 7 PageID 6
Case 4:20-cv-01299-O Document 1 Filed 12/04/20   Page 7 of 7 PageID 7
